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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS

 LABORATORIOS PISA S.A. de C.V; AND
 CAB ENTERPRISES, INC.,
                                              Civ. Action No.: 7:21-CV-0062
                           Plaintiffs,

         vs.
                                              (JURY DEMAND)
 PEPSICO, Inc.; AND
 STOKELY-VAN CAMP, INC.,


                           Defendants.




                MEMORANDUM OF LAW IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTIONS FOR TEMPORARY RESTRAINING ORDER
                  AND ORDER TO SHOW CAUSE FOR
                    A PRELIMINARY INJUNCTION
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       Plaintiffs Laboratorios Pisa S.A. de C.V (“Pisa”) and CAB Enterprises, Inc. (“CAB”)

(collectively “Plaintiffs”) respectfully submit this memorandum of law in support of their

application for a temporary restraining order to prevent defendants PepsiCo, Inc. and Stokely-Van

Camp, Inc. (together, “PepsiCo”) from marketing and selling their soon-to-be-launched Gatorlyte

product in a trade dress that infringes and dilutes the distinctiveness of the trade dress and/or

trademarks of Plaintiffs’ ELECTROLIT products, pending a preliminary injunction hearing or a

combined preliminary injunction hearing and trial on the merits pursuant to Fed. R. Civ. P.

65(a)(2).

I.     INTRODUCTION

       This is an urgent action to prevent PepsiCo from unlawfully copying Plaintiffs’ products

and to stop PepsiCo’s unethical, monopolistic and otherwise unlawful attempts to replace

Plaintiffs’ products on U.S. store shelves. PepsiCo plans to release a ready to drink beverage

marketed as “Gatorlyte”, which is in fact a slavish copy of Plaintiffs’ ELECTROLIT® brand of

premium hydration beverages. If PepsiCo’s Gatorlyte product launch – which is scheduled to take

place this Sunday, February 21, 2021 – is not enjoined, Plaintiffs will be irreparably harmed.

       First developed in Mexico over seventy years ago, Plaintiffs’ ELECTROLIT premium

hydration beverages earned its place as a staple in many households over the past decades in this

judicial district and beyond. As a result, the ELECTROLIT brand, trademarks and trade dress are

instantly recognizable to a large portion of both the U.S. and Mexican population and are

associated with Plaintiffs’ products and their considerable goodwill.

       Envious of the ELECTROLIT brand’s wild success since its formal introduction to the

U.S. market several years ago, and unable to compete with ELECTROLIT beverages on the merits

of the product, PepsiCo has resorted to an unethical and illegal campaign of copying and




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intimidation, including using their monopoly to prevent ELECTROLIT beverages from being sold

in U.S. stores altogether. PepsiCo, a repeat marketplace bully, must be enjoined from succeeding

in their scheme to unlawfully intimidate, slavishly copy, and ultimately muscle out a much smaller,

family-owned competitor from the U.S. market.

       PepsiCo’s actions have demonstrated not just a belated recognition of the market proven

by ELECTROLIT’s success or even a good-faith effort to compete on a level playing field, but a

desire to copy and replace ELECTROLIT beverages with PepsiCo’s version of the ELECTROLIT

brand, no matter what it takes.

       When PepsiCo purchased the Gatorade line of products in the 2000s for billions of dollars,

even then federal regulators recognized the monopoly that PepsiCo was solidifying in the beverage

industry and the harm that could result. After squeaking by on a 2-2 vote of the Federal Trade

Commission’s antitrust investigation of PepsiCo’s purchase of Gatorade’s previous owner, Quaker

Oats, commissioners Sheila F. Anthony and Mozelle W. Thompson warned that “PepsiCo’s

acquisition of Quaker Oats is unlawful and contrary to the public interest. … As a result of the

Commission's failure to act today, we believe that consumers of sports drinks and, indeed, all soft

drinks will suffer the consequences.” Those well-founded fears have come to pass in the ensuing

decades, now most recently in PepsiCo’s unlawful attempt to copy and replace ELECTROLIT

beverages on store shelves.

       For years, PepsiCo recognized and touted the scientific benefits of electrolytes in sports

and rehydration beverages. Indeed, the Gatorade brand is built around this fundamental science.

But despite all the successes of Gatorade, PepsiCo still struggled with fully converting electrolyte

science into commercial success. PepsiCo’s best efforts resulted in the powdered drink additive




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that they called “Gatorlytes,” sold as individual pouches for consumers to mix into other beverages

like Gatorade. The original version of Gatorlytes never took off and was a failure.

       Then, in 2014, confident from its decades-long success in Mexico, Plaintiff CAB first

formally introduced ELECTROLIT beverages into the U.S. market as a ready to drink premium

hydration beverage. Sales have doubled year-over-year since, and PepsiCo noticed.

       Having failed with their powder pouches, and despite the billions of dollars that PepsiCo

spends every year on advertising and marketing, PepsiCo realized that the quickest (albeit illegal

and unethical) way to compete with Plaintiffs’ ELECTROLIT beverages was to try and push it

around, copy it, then use their monopoly power to kick ELECTROLIT beverages from store

shelves altogether.

       Late last year, when the ELECTROLIT brand’s success and popularity became too much

competition to tolerate, PepsiCo began their intimidation tactics, having their lawyers complain

about one ELECTROLIT brand advertising claim or another, meanwhile taking notes on how

ELECTROLIT brand beverages had been able to enjoy the success that had proved so elusive for

PepsiCo.

       Indeed, the very same ELECTROLIT brand marketing that PepsiCo’s lawyers claimed was

illegal was now being prominently featured by PepsiCo in their pre-launch marketing for their new

ELECTROLIT clone, “Gatorlyte,” which, on information and belief, is scheduled to launch on

February 21, 2021.




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                                     PepsiCo’s       copying   of   the

                             ELECTROLIT brand is not subtle or

                             nuanced, as shown by pictures of the

                             respective products.      PepsiCo copied

                             nearly every distinctive feature of

                             ELECTROLIT’s trademarks and trade

                             dress into their Gatorlyte product. From

                             the prominent white diagonal banner

                             down to the positioning of the similar

                             name, inclusion of a circular badge and

                             solid color “Premium Hydration” /

                             “Rapid Hydration” subtitle background,

                             tapered lower profile and even the flavor

offerings, PepsiCo’s clone is nearly complete.

       Still not satisfied or confident in its ability to compete for success on store shelves, even

with its ELECTROLIT clone, PepsiCo turned to its stranglehold of the store shelves themselves.

In pre-launch marketing efforts directed to retailers, PepsiCo directed retailers to place Gatorlyte

“next to or in place of ELECTROLIT” with a large red X-out of ELECTROLIT beverages:




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       PepsiCo’s message was clear: it’s us or them. For retailers, this is not a choice at all.

PepsiCo’s monopolization of the sports drink market and the larger beverage market, in

combination with their substantial stake in the market for foodstuffs makes it impossible for

retailers to say no to PepsiCo.

       As a result of PepsiCo’s unlawful actions, Plaintiffs have suffered and continue to suffer

irreparable harm.

       To stop this unlawful conduct, and to recover the damages caused by it, Plaintiffs bring

this action for injunctive and monetary relief for false designations of origin and trade dress

infringement in commerce in violation of Section 43 of the Lanham Act (15 U.S.C. § 1125);

trademark infringement in violation of Section 32 of the Lanham Act (15 U.S.C. § 1114) and the

common law; trademark dilution in violation of Section 43 of the Lanham Act (15 U.S.C. § 1125)

and Tex. Bus. & Com. Code § 16.103; unfair competition in violation of Tex. Bus. & Com. Code


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§ 17.46 and the common law; violations of common-law prohibitions against unjust enrichment

and tortious interference with existing and prospective business relationships; violations of Section

1 of the Sherman Act and/or Section 3 of the Clayton Act (tying); violation of Section 1 or 2 of

the Sherman Act and/or Section 3 of the Clayton Act (exclusive dealing); violation of Section 2 of

the Sherman Act (monopoly leveraging and attempt to monopolize); and violation of the Texas

Free Enterprise and Antitrust Act of 1983 (Tex. Bus. & Com. Code Ann § 15.01 et seq.).

II.     STATEMENT OF FACTS

        Further facts are set forth in the simultaneously filed Complaint, including all exhibits

thereto.

Pisa and ELECTROLIT

        Pisa’s origins date to 1945 in Mexico and the formation of Productos Infantiles, S.A., PiSA,

which primarily developed and sold medicinal products for children and infants. In 1950,

ELECTROLIT products were developed as a solution for dehydration in children, a crucial need

during a wave of cholera striking Mexico at the time. Ochoa Decl. ¶ 3. The photograph below

shows early ELECTROLIT brand product.




        Productos Infantiles, S.A., PiSA became Laboratorios Pisa S.A. de C.V in 1955 amid the

growth sparked by ELECTROLIT products. Over the years, ELECTROLIT beverages have proven



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to be wildly successful products among children and adults alike and have emerged as Pisa’s

leading product, selling over 200 million bottles in 2016 alone—2 for every person in Mexico.

Manufacturing ELECTROLIT beverages employs over 17,000 people in nine plants. Ochoa Decl.

¶ 4. With this investment, Pisa has built the capability to manufacture 2 billion ELECTROLIT

bottles per year. Today, due to the success of the ELECTROLIT brand and Pisa’s other health and

pharmaceutical products, Pisa is the largest pharmaceutical company in Mexico and Latin

America.

       In 2014, CAB was formed in the United States and was appointed the exclusive authorized

distributor in the United States for ELECTROLIT product. Ochoa Decl. ¶ 5, 14. In connection

therewith, CAB was granted a license to the trademarks, copyrights and trade dress associated with

U.S. ELECTROLIT products described below and was tasked with translating the overwhelming

success of the ELECTROLIT brand in Mexico into a similar dominance in the U.S. market. Ochoa

Decl. ¶ 6, 14.

       Today, CAB distributes ELECTROLIT beverages to over 30,000 accounts in the United

States. Ochoa Decl. ¶ 9. ELECTROLIT beverages are sold to consumers in the United States

through several channels, including online through retailers such as Amazon as well as through

supermarkets, convenience stores and all grocery store formats. Ochoa Decl. ¶ 10.

       Pisa is the owner of the following “Pisa” and “ELECTROLIT” trademarks and CAB is the

sole licensee in the United States of these registered trademarks (collectively, the “ELECTROLIT

Marks”), one or more of which appear on packaging and advertisements for all U.S.

ELECTROLIT products:




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    Mark       U.S. Reg. No.    Reg. Date                  Relevant Goods

                 4222726       Oct. 9, 2012    Class 5: Electrolyte replacement solution
                                               for oral rehydration.
                                               Class 32: Oral rehydration beverages,
                                               namely, sports drinks.
“ELECTROLIT”     4833885       Oct. 13, 2015   Class 5: Pharmaceutical products,
                                               namely,       electrolyte     replacement
                                               solutions; veterinary products, namely,
                                               dog, horse, pig, cat, bird, and ruminant
                                               food, bacterial and bacteriological
                                               preparations for veterinary use, chemical
                                               reagents for veterinary purposes, enzymes
                                               for veterinary purposes, diagnostic
                                               preparations for veterinary purposes,
                                               veterinary vaccines; hygienic products,
                                               namely, skin cleansing solutions for
                                               medical use; dietetic substances for
                                               medical use, namely, diet pills, diet
                                               capsules, and diet drinks; baby food;
                                               poultices; wound dressings; dental
                                               poultices; dental mold poultices;
                                               disinfectants for home use; products for
                                               the destruction of harmful animals,
                                               namely, insecticides and pesticides;
                                               fungicides; herbicides.
                                               Class 32: Beers; mineral waters;
                                               carbonated beverages; non-alcoholic
                                               beverages, namely, water, flavored water;
                                               fruit beverages and juices; syrups for
                                               making beverages.
                 4717350       Apr. 7, 2015    Class 5: Electrolyte replacement solutions
                                               for oral rehydration.
                                               Class 32: Oral rehydration beverages,
                                               namely, sports drinks containing
                                               electrolytes.




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      Mark           U.S. Reg. No.      Reg. Date                 Relevant Goods

                        4717232        Apr. 7, 2015   Class 5: Electrolyte replacement solutions
                                                      for oral rehydration.
                                                      Class 32: Oral rehydration beverages,
                                                      namely, sports drinks containing
                                                      electrolytes.


       Ochoa Decl. ¶ 11. True and correct copies of the registrations for the ELECTROLIT Marks

are attached to the Complaint as Exhibit 1.

       Since long prior to PepsiCo’s acts complained of herein and through the present, Pisa

and/or CAB have made continuous use of the ELECTROLIT Marks in connection with U.S.

ELECTROLIT products and plan to do so in the future. Ochoa Decl. ¶ 15.

       The ELECTROLIT Mark registrations are valid, subsisting and (with the exception of Reg.

No. 4833885) incontestable and constitute conclusive evidence of Pisa and CAB’s exclusive right

to use the ELECTROLIT Marks for the goods specified in the registrations. 15 U.S.C. §§ 1065,

1115(b).

       Plaintiffs use distinctive packaging (the “ELECTROLIT Trade Dress”) to distinguish its

U.S. ELECTROLIT products in the marketplace. Ochoa Decl. ¶¶ 12-13. Pisa owns, and CAB is

the U.S. sole licensee with respect to, the ELECTROLIT Trade Dress, which consists of, but is not

limited to the packaging illustrated below:




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       Ochoa Decl. ¶ 12. Plaintiffs have used the ELECTROLIT Trade Dress pictured above on

U.S. ELECTROLIT product since at least as early as 2014 and through the present date. Plaintiffs

are currently using the ELECTROLIT Trade Dress in commerce and in connection with their sale

of U.S. ELECTROLIT and plan to continue such use in the future. Ochoa Decl. ¶ 13.

       The ELECTROLIT Trade Dress is arbitrary, non-functional and distinctive.

       The ELECTROLIT Marks and ELECTROLIT Trade Dress have been extensively and

continuously used by Plaintiffs and are inherently distinctive and/or have become distinctive

through the acquisition of secondary meaning. Ochoa Decl. ¶ 13.

       Since the formation of CAB in 2014, $39.9 million has been spent in the United States to

advertise and promote the ELECTROLIT brand in the U.S. The ELECTROLIT Marks and

ELECTROLIT Trade Dress is prominently displayed in Plaintiffs’ advertising and promotional

materials.




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       Plaintiffs advertise and promote the ELECTROLIT brand in the U.S. through various

means, including electronic media, print media, promotional and point of sale materials, presence

at live events and through various social media channels, including Facebook and Instagram.

Ochoa Decl. ¶¶ 7-8.

       As a result of Plaintiffs’ extensive sales, promotion and advertising of the ELECTROLIT

brand, the ELECTROLIT Marks and Trade Dress have become famous among the consuming

public of Texas and the United States and represent valuable goodwill to Plaintiffs. Ochoa Decl.

¶¶ 15-17. The ELECTROLIT Marks and Trade Dress are also famous among the general

consuming public in Texas, especially in West and South Texas. Id.

       Pisa’s use of the ELECTROLIT Marks dates back to the 1950s and the ELECTROLIT

Marks have been in continuous, exclusive use since that time. Ochoa Decl. ¶ 3, 13, 15. CAB began

using the ELECTROLIT Marks and Trade Dress in the U.S. in 2014 and since then has spent tens

of millions of dollars on advertising and promotion of the ELECTROLIT Marks and Trade Dress

among the general consuming public in the U.S. CAB’s advertising and promotion efforts have

resulted in over 2.2 billion advertisement impressions across 13 markets in the U.S. with a 70%

reach per market, as well as over 4.5 million social media engagements. Ochoa Decl. ¶¶ 5, 8.

       As a result of Plaintiffs’ efforts, in addition to the popularity of the ELECTROLIT product

itself, the ELECTROLIT Marks and Trade Dress have become household names among the

general consuming public in the U.S. Ochoa Decl. ¶¶ 15-17. In addition, the ELECTROLIT

products, Marks, and Trade Dress have been wildly successful in Texas, especially south and west

Texas. Id. The exponential growth of sales of ELECTROLIT beverages in the U.S. and total sales

volume also evidence the fame of the ELECTROLIT Marks and Trade Dress, with over 93 million

bottles sold in the U.S. since 2014 and 47 million in just the last year.




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PepsiCo and Its Unlawful Conduct

       One of the beverage brands sold by PepsiCo is Gatorade, a ready to drink sports drink.

PepsiCo also sells a separate powder (not a ready to drink beverage) that they originally called

“Gatorlytes” that PepsiCo claims “is a five electrolyte blend … designed for athletes with high

electrolyte       loss,      salty        sweaters        and        cramp-prone         athletes.”

(www.gatorade.com/endurance/gatorlytes/unflavored/pouch).

       On information and belief, PepsiCo plans to convert its old, powdered additive

“Gatorlytes” into a new ready to drink beverage and sell it with the name “Gatorlyte” as early as

February 21, 2021. Ochoa Decl. ¶ 18. PepsiCo has already begun marketing and advertising in

advance of the launch of its new ready to drink Gatorlyte. Instead of using the labeling that was

already, designed, developed, and tested to work on the old “Gatorlytes” products, that was similar

to the existing Gatorade family of products, PepsiCo copied the ELECTROLIT brand’s look and

feel by copying the label, design, and trade dress of ELECTROLIT branded products. Ochoa Decl.

¶¶ 19-21, 23-24. PepsiCo even took the drastic step of changing the product’s name from plural

“Gatorlytes” (a reference to the mix of different electrolytes in the product’s formulation) to the

singular “Gatorlyte” in an effort to make their product name sound similar to the successful

ELECTROLIT brand name.

       On information and belief, PepsiCo was aware and envious of the tremendous success that

Plaintiffs have worked to achieve with their ELECTROLIT brand and sought to trade off the

goodwill of and piggyback on the ELECTROLIT brand’s success.

       PepsiCo set about to launch their own ready to drink electrolyte beverage to capture the

market that ELECTROLIT brand’s success had proven exists. In a crude reference to the




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ELECTROLIT brand’s success in Mexico, PepsiCo dubs its target market for Gatorlyte “the

Hispanic consumer.”

       However, instead of innovating and competing fairly, PepsiCo chose to take a different,

more familiar path.

       Upon information belief, PepsiCo created an unethical and illegal business plan to target

the “Hispanic consumer” that would utilize PepsiCo’s marketing, manufacturing, distribution and

legal departments to replace ELECTROLIT beverages with a copied version from PepsiCo.

       In concert with and with knowledge that PepsiCo’s business teams were developing an

illegal copy of ELECTROLIT beverages, with the exact same branding and marketing slogans

behind the scenes, PepsiCo deployed its legal department to intimidate plaintiffs with false claims.

In November, 2020, Defendant Stokely had their “Senior Director Legal,” Brett Well, send

plaintiff CAB a threatening letter making hollow claims about ELECTROLIT advertising, alleging

that some of the marketing statements made about ELECTROLIT products were untrue. Ochoa

Decl. ¶ 25.




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       At the same time, however, PepsiCo was hatching its plot to copy the very same marketing

statements from ELECTROLIT’s advertising and trade dress for its copycat Gatorlyte products.

Id. Accordingly, on information and belief, PepsiCo utilized their legal threats not out of some

genuine legal concern, but as a marketing ploy driven by the business decisions of PepsiCo to

unfairly compete with Plaintiffs.

       For example, PepsiCo complained about ELECTROLIT advertising’s use of the term

“instant hydration” and the claims that it is “perfectly formulated to work faster” and contains an

“optimal formula to hydrate faster than any sports drink” and demanded that ELECTROLIT

advertising cease using those terms. Ochoa Decl. ¶ 26. Meanwhile, on information and belief,

PepsiCo itself was finalizing its plans to advertise Gatorlyte the same way - with the claim that it

offers “rapid rehydration” and has an “optimized formula for faster absorption.” Id.

       As another example, PepsiCo complained about ELECTROLIT advertising’s use of the

term “scientifically superior” while at the same time, on information and belief, it was finalizing



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its plans to advertise Gatorlyte with the claim that it is “scientifically formulated.” Ochoa Decl. ¶

27.

        In another example, PepsiCo complained about ELECTROLIT advertising’s claim that it

“prevents cramps,” yet made the claim that its old Gatorlytes powder was “designed for … cramp-

prone athletes.” Ochoa Decl. ¶ 28.

        On information and belief, PepsiCo conducted market and consumer research studies to

study the effectiveness of ELECTROLIT’s marketing, advertising, packaging and flavor selection

with consumers in preparation for producing its Gatorlyte product. As one result of this research,

PepsiCo concluded that “ELECTROLIT’s buyer base is drawn to ‘rehydration benefits’ from high

electrolyte content.”

        When these efforts to directly intimidate plaintiffs into opening a marketing vacuum for

PepsiCo’s Gatorlyte product to fill failed, PepsiCo fell back on its undeniable advantage: size.

Ochoa Decl. ¶ 29. PepsiCo sent out its sales force to countless distributors and retailers that sold

its wide range of other beverages to demand that they make room for Gatorlyte, and not just

anywhere. Id. Drawing on its existing share of cooler space at retail outlets, PepsiCo demanded

that Gatorlyte be positioned in “incremental” space relative to other Pespico beverages that is “next

to or in place of ELECTROLIT.” Id.

        PepsiCo did not rely on intimidation of plaintiffs, distributors or retailers alone to set the

stage for Gatorlyte’s launch. Ochoa Decl. ¶ 30. PepsiCo copied ELECTROLIT trademarks and

trade dress too. Id.

        As they have been for years, PepsiCo’s Gatorade products are sold with their own round

bottle shapes, labels and graphics, as shown below. Ochoa Decl. ¶¶ 23-24.




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       Gatorade bottles are cylindrical and feature rounded shoulders, a double upper groove and

a square bottom corner profile. The labels are do not contain diagonal banners, nor does the full

“Gatorade” name appear prominently on the labels. Instead, Gatorade bottles use a white “G” and

integrated orange lightning bolt as their most visually prominent and consistent feature:




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       PepsiCo’s old Gatorlytes powder pouches feature similar banding to Gatorade, G2 and G

Zero, as shown below:




       These pouches are branded with a predominantly silver and gray label, minimized product

name and lack of diagonal banners, circular badges or solid color subtitle backgrounds. The most

prominent feature, in the largest typeface, is the white “G” with integrated orange lightning bolt,

the same as is featured on the rest of the Gatorade family of products, as discussed above.

       In contrast, ELECTROLIT beverages have been sold in a square-shaped bottle for decades

and has been sold at least since its introduction into the United States with a diagonal lower left to

upper right white banner label with circular badge, solid background subtitles and other distinctive

features. These elements became synonymous with the ELECTROLIT brand in the minds of

consumers.

       Instead of sticking to its own Gatorade branding and packaging for its new Gatorlyte

product, however, PepsiCo abandoned its Gatorade and Gatorlytes packaging and copied the

ELECTROLIT brand’s bottle design, shape, and label. As shown in the accompanying pictures,

the trade dress for Gatorlyte mimics so many key elements of the unique, distinctive

ELECTROLIT trade dress that it cannot be the result of sheer coincidence.

       The square bottle shape of ELECTROLIT beverages is copied in the Gatorlyte product, in

contrast with the cylindrical shape of the Gatorade bottle.




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       The prominent lower left to upper right diagonal white banner of the ELECTROLIT

product label is copied in the Gatorlyte product, down to the proportions, angle, and amount of

coverage on the bottle’s flat front face.




       The full recitation of the ELECTROLIT name is copied in Gatorade’s product by recitation

of the full Gatorlyte name, in identical scale and placement and overlaid on the same diagonal

white banner to the ELECTROLIT name.


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       The solid background “Premium Hydration” subtitle on the ELECTROLIT product label

is copied in the solid background “Instant Hydration” subtitle on the Gatorlyte label.




       The circular badge on the label of ELECTROLIT products is copied in the label of the

Gatorlyte product.




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          The placement of the graphic element of an ELECTROLIT trademark is copied in the

Gatorlyte label by the placement of the “G” graphic above and to the right of the full product name

recitation.




                                                                        2
          The multi-color graphic element of an ELECTROLIT trademark is also copied in the

Gatorlyte label by the vertically arrayed multi-color graphic element on the side of the Gatorlyte

bottle.


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                                                                        2
       The ELECTROLIT branded bottle features two grooves circumscribing the bottle at upper

and lower portions thereof, the relative positioning and scale of which are copied in the design of

the Gatorlyte bottle.


                             D                               Si                               Si
                         ouble                          ngle                             ngle
                        Groove                         Groove                           Groove




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        The profile of the lower portion of the ELECTROLIT branded bottle transitions from

gently tapered near the lower groove to a sharper radius at the bottom of the bottle, a design that

is copied in the profile of the Gatorlyte bottle.




        In sum, a consumer, undoubtedly familiar with the market-dominant Gatorade brand,

would be much more likely to believe (incorrectly) that the Gatorlyte product is affiliated with the

ELECTROLIT brand than it is with Gatorade, PepsiCo or any other product of PepsiCo. Ochoa

Decl. ¶ 31. On information and belief, this confusion is intentionally induced by PepsiCo and a

core part of their marketing strategy for Gatorlyte.

        The graphic and design-based elements of the ELECTROLIT Trademarks and Trade Dress

take on an increased importance among consumers that do not speak English as a first language,

English being the language of both the U.S. ELECTROLIT product label and the Gatorlyte product

label. Thus, PepsiCo’s overt targeting of “the Hispanic consumer” in their Gatorlyte marketing

efforts, who are more likely than many other consumer groups to not speak English as a first

language, makes it even more likely that its copying of the graphic and design elements of the




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ELECTROLIT Trademarks and Trade Dress causes confusion among PepsiCo’s target market as

to the true source or origin of Gatorlyte.

        The ELECTROLIT Trade Dress is protectable and infringed. The ELECTROLIT Trade

Dress is intended to be and has the effect of signifying the source of the product and is not merely

utilitarian.

        Specifically, the ELECTROLIT branded packaging and Trade Dress is not a common or

basic shape and design but rather is a distinctive square shape and distinctive design, including

with its white diagonal banner, circular badge and solid color subtitle background. This Trade

Dress serves to automatically create an association between the product and the source of the

product in the minds of the public. Further, as explained above, Plaintiffs have penetrated the

sports drink market with over 93 million bottles sold since 2014 and have created a brand that is

distinctive to its consumers, including through their expenditure of over $39.9 million on

advertising and marketing.

        PepsiCo’s use of the ELECTROLIT Marks and Trade Dress is likely to cause confusion as

to the source of the product. Ochoa Decl. ¶ 31. As a result of Plaintiffs’ extensive sales, promotion

and advertising of the ELECTROLIT brand, the ELECTROLIT Marks and Trade Dress have

become famous among the consuming public of Texas and the United States and represent

valuable goodwill to Plaintiffs. Ochoa Decl. ¶¶ 15-17. The ELECTROLIT Marks and Trade Dress

are also famous among the general consuming public in Texas, especially in West and South

Texas. Id. PepsiCo has adopted a substantially similar trade dress with a square bottle, a white

diagonal banner, a circle badge, and a solid color subtitle background. As explained above, the

products are similar and are intended to reach the same consumers in the sports drink market,

including through similar advertising channels. Ochoa Decl. ¶ 33. PepsiCo’s nefarious intent is




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plain here where it has suggested that retailers abandon ELECTROLIT beverages in favor of

Gatorlyte. Finally, PepsiCo’s Gatorlyte branding and packaging is likely to at least cause initial

interest confusion in consumers, where consumers are not likely to invest substantial time and

effort into making a low-cost decision such as which sports drink beverage to purchase. Ochoa

Decl. ¶¶ 31-32. Consumers are also likely to be confused between the two products where

ELECTROLIT beverages and Gatorlyte are direct competitors in the sports drink market and

consumers are likely to view ELECTROLIT products and Gatorlyte product packaging and

advertising prominently and frequently.

       Finally, the application of the name “Gatorlyte” to the label does nothing to dispel

consumer confusion. For example, the product names are not the most prominent features of the

Gatorlyte and ELECTROLIT branded bottles. Rather, the most prominent features on the products

are the features that the products have in common, such as a square bottle shape, a white diagonal

banner, a circle badge, and a solid color subtitle background. At best, a consumer would have to

closely examine the products to dispel his or her confusion.

       PepsiCo’s decision to slavishly copy so many elements of the ELECTROLIT branded

packaging and label thus appears to be a calculated attempt to associate Gatorlyte with the

ELECTROLIT brand rather than with the well-known Gatorade brand (a brand name that does not

appear on the face of the Gatorlyte label).

       PepsiCo’s willful trade dress infringement is all the more apparent when viewed in light of

PepsiCo’s other products in this category, none of which have used this bottle shape, diagonal

banner label with circular badge, or solid background subtitles. PepsiCo’s first entry in the

category was the unsuccessful Gatorlyte powder, sold in pouches, and it did not share any of these

design elements. The Gatorlyte powder patches did, however, share design elements with




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PepsiCo’s Gatorade brand of products, which themselves were packaged in differently shaped

bottles from ELECTROLIT branded products, with different colors and label designs. On

information and belief, Gatorlyte powder is designed to look like part of the Gatorade family of

products. When it became clear that Gatorlyte’s powder formulation was not going to succeed in

the marketplace, PepsiCo elected to launch a hydration beverage designed to compete with

ELECTROLIT branded products. Notably, however, PepsiCo departed from its longstanding

Gatorade design when it launched its copycat ELECTROLIT product. The Gatorlyte beverage

instead is designed as part of an intentional scheme to confuse consumers and misappropriate the

goodwill Plaintiffs have developed in its ELECTROLIT brand—to wit, the Gatorlyte beverage is

designed to appear as part of the ELECTROLIT family of products. PepsiCo deliberately dropped

or radically de-emphasized the key identifiers of the Gatorade brand and instead adopted the key

elements of the ELECTROLIT Trade Dress.

       PepsiCo’s previous designs for Gatorade branded products demonstrates that it knows how

to design non-infringing trade dress when it wants to do so. Indeed, PepsiCo designed non-

infringing trade dress for its failed Gatorlyte powder product. As noted above, the similarity

between the accused Gatorlyte and ELECTROLIT trade dresses are all the more striking when

viewed in light of PepsiCo’s other similar products.

       PepsiCo’s Gatorlyte branding and packaging is likely to cause initial interest confusion in

consumers, particularly where consumers are not likely to invest substantial time an effort into

making a low-cost decision such as which electrolyte beverage to purchase. Consumers are also

likely to be confused between the two products where ELECTROLIT beverages and Gatorade are

direct competitors in the electrolyte beverage market and consumers are likely to view Gatorlyte

and ELECTROLIT branded product packaging and advertising prominently and frequently. On




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information and belief, Gatorlyte products also will be purposefully sold in some of the same

supermarkets, pharmacies, and neighborhood stores that currently carry ELECTROLIT products

– “next to or in place of ELECTROLIT” if PepsiCo has its way. PepsiCo’s trade dress infringement

is exacerbated by their deceptive marketing and sales practices. PepsiCo’s clear instruction to

retailers to place Gatorlyte “next to or in place of ELECTROLIT” is a blatant attempt to increase

consumer confusion.

       The ELECTROLIT branded product design and packaging is intended to be and has the

effect of signifying the source of the product and is not merely utilitarian.

       Finally, the label “Gatorlyte” does nothing to dispel consumer confusion, where the

product names are not the most prominent feature of the bottle. Rather, the most prominent features

on the products are the features that the products have in common, such as a white banner and a

circular badge. At best, a consumer would have to closely examine the products to dispel his or

her confusion given the striking similarity between the products’ respective trade dress.

       PepsiCo’s tactics, while unlawful, are not unfamiliar. With competitors large, and small,

PepsiCo has tried all this before.

       In 2006, PepsiCo was sued for copying the trade dress and product formulation of

Glacéau’s highly successful VitaminWater product, after multiple failed attempts to introduce

similar original products to the market. PepsiCo was likewise accused of instigating deceptive and

harmful marketing and sales practices, and had even attempted to buy the VitaminWater brand

before launching its copycat product instead. Upon information and belief, in response to these

allegations, rather than risk a finding of infringement, PepsiCo changed its packaging before the

Court ruled on VitaminWater’s claims.




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       In 2002, a Texas jury assessed $54 million in exemplary damages against PepsiCo after

finding business and/or product disagreement, wrongful interference with prospective contractual

relations, and fraud. PepsiCo had tested an Austin, Texas company’s invention under the guise of

adding it to the system of PepsiCo beverage-dispensers if it met certain criteria. However, instead

of paying for the feature, PepsiCo copied it and then disparaged the invention and MaximICER,

the inventing company, to potential customers while marketing its own competing product.

       Upon information and belief, rather than compete with its own failing, but unique,

products, PepsiCo resorts to copying the great ideas of its competitors and using its immense

marketplace weight and nationwide distribution network to swamp the market with confusingly

similar copycat products.

       When it cannot copy the products of its competitors, PepsiCo, on information and belief,

adopts confusingly similar names for its products. In April of 2011, Polar Corp. obtained a

preliminary injection blocking PepsiCo from selling its frozen slush drink Polar Shock as the

product name was confusingly similar to that of Polar Corps. Less than two months after that

decision, PepsiCo settled the case.

       PepsiCo’s unfair business practices extend beyond trademark misappropriation as well. In

January of this year PepsiCo was sued by Quash Seltzer for tortious interference with existing

contracts and with prospective business relations on the alleged grounds that PepsiCo threatened

Quash’s prospective distribution partners into not doing business with or even exploring a

relationship with Quash relating to the distribution of a new hard seltzer product. And in late 2019

a jury ordered PepsiCo to pay nearly $3 million over claims that PepsiCo had undercut the prices

of a family-owned Iowa-based bottling company and failed to reimburse the bottler as it had

previously agreed.




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       PepsiCo does not reserve its schemes for small competitors, either. In 2005, PepsiCo was

found liable for infringing a patent held by its prime competitor, Coca-Cola Co., and a jury

assessed reasonable royalty damages of over $4 million against PepsiCo.

       More recently, in 2011, PepsiCo faced claims of trade dress misappropriation and design

patent infringement, along with Texas and Georgia state anti-dilution laws, brought by Coca-Cola

Co. for the sale of PepsiCo’s copycat Trop50 juice bottle design. The background to the case is a

familiar one - after failing with its own cardboard carton design for its Trop50 juices, PepsiCo

tried a clear plastic bottle with an oversized green closure that was alleged to be “virtually

indistinguishable” from Coca-Cola’s successful and highly-reputable Simply Orange orange juice.

Sales took off, and Coca-Cola brought suit. Facing the prospect of owing compensatory and

punitive damages, PepsiCo settled the case less than six months after the complaint was filed.

       If there were any lingering doubt about PepsiCo’s history of bad faith, it is resolved by the

fact that their decision to launch a knock-off product in so confusingly similar a trade dress came

only after PepsiCo first attempted to clear the market of ELECTROLIT’s successful and legally

appropriate advertising by disingenuously complaining about that advertising (which PepsiCo

would later copy for its own use). PepsiCo then set out to copy every aspect of the ELECTROLIT

brand, coupled with deceptive marketing and sales practices. Plaintiffs have documented coercive

instructions to distributors and retailers to place Gatorlyte “next to or in place of ELECTROLIT.”

This reflects a deliberate attempt by PepsiCo and its agents to use deceptive tactics in the

marketplace, and Pepisco’s outsized influence, to capitalize on the confusing similarity between

Gatorlyte and ELECTROLIT branded beverages. This heightens the likelihood that consumers

will purchase Gatorlyte products when they mean to purchase ELECTROLIT branded products.




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         PepsiCo’s unlawful conduct is causing and will continue to cause serious and irreparable

harm to Plaintiffs. Not only will retailers and consumers be confused into purchasing Gatorlyte

when they want ELECTROLIT beverages, but also PepsiCo will be able to overwhelm the market

at a critical time, amidst the throes of a global pandemic. This conduct, if not enjoined, will

eviscerate the goodwill Plaintiffs’ have spent years carefully cultivating for its ELECTROLIT

brand.

The Product Markets and Gatorade’s Market Power

The Sports Drink Market

         The U.S. market for sports drinks products is a clearly defined antitrust market. The U.S.

is a naturally defined geographic area with sports drink manufacturers engaged almost exclusively

in nationwide distribution that naturally stops at the U.S. border for numerous reasons, including

regulatory and tax issues. Consumers in the U.S. largely share the same consumption patterns,

with very little in the way of regional variance.

         Consumers do not generally consider sports drinks interchangeable with other beverages,

including sodas, juices, or waters. Sports drinks are typically consumed for their flavor profile in

connection with athletic activity, but consumers generally do not consider them to be related

rehydration beverages that may be used for medical purposes such as acute dehydration.

         The U.S. sports drink market is comprised primarily of longstanding brand names that have

historically been tied to professional and collegiate athletics.

         Brands such as PepsiCo’s Gatorade have long dominated the sports beverage market. In

fact, Gatorade was first introduced to the National Football League in approximately 1970, and

since that time has become an iconic part of professional sports, from the logo-blazoned cups on

the sideline to the requisite Gatorade shower after major victories.



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       PepsiCo’s Gatorade is not just an iconic part of sports drink market. It is also a holder of

monopoly power. Major U.S. news sources have declared that “Gatorade dominates the U.S.

sports drink category, holding a 72.1% market share of retail sales” and the next leading contender,

“Coke’s      Powerade,”      falls    a     “distant    second,     with     a     16.1%      share.”

https://www.cnbc.com/2020/02/02/gatorade-and-powerade-try-to-adapt-as-sports-drinks-sales-

decline.html

       PepsiCo’s dominance in the sports drink market is perpetuated, in part, by high barriers to

entry in the market. For instance, Gatorade’s more than 50-year history has led to entrenched

buyer preferences. That PepsiCo’s competitor Coca-Cola has not been able to erode PepsiCo’s

market share in the sports drink market notwithstanding the financial and logistical backing that

Coke provides to Powerade demonstrates that start-ups and new market entrants face

insurmountable barriers that cannot be overcome solely by additional investment and product

development.

       Moreover, Gatorade benefits from the economies of scale PepsiCo’s vast and worldwide

production and distribution of other beverages, PepsiCo’s longstanding relationships with

thousands of distributors and retail channels nationwide, and its ability to force retailers to invest

and make permanent advertising and signage material to “lock in” the Gatorade brand.

       PepsiCo’s high market share combined with its dominant position within the sports drink

industry, buyers’ entrenched preferences, and PepsiCo’s incredibly vast distribution network have

resulted in Gatorade having monopoly power, the ability to exclude competitors, and the ability to

control prices.

The Rehydration Drink Market




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       The U.S. rehydration drink market is a new, and quickly growing separate and distinct

beverage market. The rehydration drink market is limited to the U.S. for the same regulatory, tax,

and consumer preference reasons as the sports drink market.

       The rehydration market is comprised of electrolyte-laden beverages that are primarily

intended to address or alleviate symptoms of dehydration, and are not typically marketed as a

beverage for ordinary consumption. Customers do not typically consider sports drinks and

rehydration drinks to be interchangeable . or economic substitutes.

       Brand competitors within the rehydration drink market include, for example:

ELECTROLIT, Pedialyte, Biolyte, Recover 180, Kinderlyte, NOOMA Organic Electrolyte, Roar

Organic Electroyte, and, now, Gatorlyte.

       The U.S. rehydration drink market has consistently grown since the ELECTROLIT brand

entered the market, and the ELECTROLIT brand has steadily gained market share within the

rehydration drink market because consumers like the taste, believe that ELECTROLIT products

perform well, and believe they are appropriately priced.

PepsiCo’s Anticompetitive Conduct

       Unsatisfied with its existing monopoly power in the sports drink market, PepsiCo has taken

steps to exclude its competitors from the rehydration drink market and to acquire and maintain

additional market power. To that end, PepsiCo engages in a strong-arm campaign by “suggesting”

that retailers replace competing beverages such as ELECTROLIT beverages with PepsiCo’s

Gatorlyte branded beverages in written advertising placards like the one identified above. Upon

information and belief, PepsiCo makes it known that retailers are required to displace other

beverages on premium shelves (or remove the competing products altogether) as a condition to

being able to purchase any PepsiCo branded products.



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        PepsiCo’s forced exclusive dealing practices, because they impact PepsiCo’s extensive

network of distributors, substantially forecloses all competitive manufacturers of rehydration

drinks from the market and enables PepsiCo to charge supracompetitive prices for its Gatorlyte

product.

        In similar fashion, PepsiCo abuses its power in the sports drink market to expand its market

power in certain growing markets and quash market participants like Plaintiffs by unfair means.

Upon information and belief, PepsiCo leverages its overwhelming monopoly power in the sports

drink market by conditioning the sale of Gatorade products on the sale of “new” products in the

Gatorade family like Gatorlyte. By combining these tactics, PepsiCo can use its overwhelmingly

dominant position in the sports drink market to both (1) force retailers into exclusive distribution

agreements rather than allowing rehydration drinks to compete fairly on flavor, taste, performance,

and price; and (2) force retailers to purchase and promote Gatorlyte (the tied product in the

rehydration drink market) by forcing retailers to purchase Gatorlyte if they want to have continued

access to PepsiCo’s other products – namely, Gatorade (the tying product in the sports drink

market).

        Given PepsiCo’s enormous market power and nationwide distribution systems, its tying of

Gatorlyte and its imposition of exclusive dealing arrangements will have an adverse impact on

competition within a substantial portion of the rehydration drink market.                PepsiCo’s

anticompetitive business activities were intended to, and did, have a direct, foreseeable, and

substantial effect on the trade and commerce within each state and among the states in the United

States, including in this district.

        By abusing its monopoly power, PepsiCo will be able to force competitors, including the

ELECTROLIT brand, off of retailers’ shelves, thereby depriving consumers of any choice in




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rehydration drink, and maintain its ability to charge inflated prices to consumers by presenting

them with only a single option at retailers.

Harms Caused by PepsiCo’s Actions

         In addition to monetary damages, Plaintiffs have suffered and continue to suffer irreparable

harm from PepsiCo’s actions.

         In developing and marketing Gatorlyte products, PepsiCo has gone beyond fair

competition and have adopted a trade dress that has and will confuse consumers into thinking they

are buying ELECTROLIT products.

         If PepsiCo is permitted to proceed, Plaintiffs will suffer irreparable harm. Most obviously,

it will lose marketshare, as customers are confused into buying Gatorlyte products when they

intended to buy ELECTROLIT products.

         Further, Plaintiffs have spent considerable time and expense in gaining the loyalty of

retailers and shelf space for its product. If PepsiCo succeeds in gaining that shelf space by virtue

of their confusingly similar packaging, Plaintiffs may never be able to regain that shelf space, even

if this Court later enjoins the Gatorlyte trade dress at a preliminary injunction hearing and/or a trial

on the merits.

         If Plaintiffs are unable to obtain a TRO in the immediate future, PepsiCo– using its

prodigious marketing strength and nationwide distribution network – will be able to flood the

market and capture shelf space for the critical summer selling season. The good will Plaintiffs have

spent the past seven years carefully cultivating for the ELECTROLIT brand could be eviscerated

by the end of the summer.

III.     ARGUMENT




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       Once a violation of the Lanham Act is demonstrated, injunctive relief will readily issue.

15 U.S.C. § 1116. Courts base this relief on the trademark holder’s “inability to control the nature

and quality of the infringer’s goods … not because the infringer’s goods are necessarily inferior.”

Wesley-Jensen Div. of Schering Corp. v Bausch & Lomb, Inc., 698 F.2d 862 (7th Cir. 1983). As

discussed above and in more detail below, PepsiCo’s conduct constitutes at least trade dress and

trademark infringement, thereby satisfying the requirements for a temporary restraining order and

a preliminary injunction.

       A plaintiff is generally entitled to injunctive relief when it demonstrates “that [it] is likely

to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of the equities tips in [its] favor, and that an injunction is in the public

interest.” Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008); see also Daniels Health

Scis., LLC v. Vascular Health Scis., LLC, 710 F.3d 579, 582 (5th Cir. 2013); Magic Valley

Concrete, LLC v. Union Pac. R.R. Co., No. 1:13-cv-233, 2014 U.S. Dist. LEXIS 192312, at *7-8

(S.D. Tex. Mar. 20, 2014) (“An applicant must establish ‘four prerequisites for the extraordinary

relief of a temporary restraining order or preliminary injunction[:] . . . (i) a substantial likelihood

of success on the merits; (ii) a substantial threat of immediate and irreparable harm for which [the

applicant] has no adequate remedy at law; (iii) that greater injury will result from denying the

temporary restraining order than from its being granted; and (iv) that a temporary restraining order

will not disserve the public interest.’”) (quoting Vogt v. Tex. Instruments, Inc., No. 3:05-CV-2244-

L, 2006 U.S. Dist. LEXIS 96515, at *2 n.4 (N.D. Tex. Aug. 8, 2006)). For the reasons set forth

below, Plaintiffs satisfy each of these elements.

       A.      Plaintiffs Have a Strong Likelihood of Success on the Merits on Their Trade
               Dress Infringement, Trademark Infringement, and False Designation of
               Origin Claims




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         To obtain a temporary restraining order and preliminary injunction, Plaintiffs can easily

demonstrate that they have a likelihood of success on the merits of their trade dress infringement

claims, including “present[ing] a prima facie case, but [Plaintiffs] need not prove that [they are]

entitled to summary judgment.” Daniels Health, 710 F.3d at 582 (citing Janvey v. Alguire, 647

F.3d 585, 595-96 (5th Cir. 2011)).

         To prevail on a trade dress infringement claim, the plaintiff must show (1) the trade dress

qualifies for protection, and (2) the trade dress has been infringed, which requires considering the

likelihood of confusion. See, e.g., W. v. Velo Enter. Co., No. SA-13-CV-024-OLD, 2014 U.S. Dist.

LEXIS 191209, at *11 (W.D. Tex. June 9, 2014) (setting forth standard for trade dress

infringement). As this Court has held, “Section 1125(a) creates a cause of action for trade dress

infringement that is analogous to the common-law tort of unfair competition.” Clearline Techs.,

Ltd. v. Cooper B-Line, No. H-11-1420, 2012 U.S. Dist. LEXIS 2116, at *12-13 (S.D. Tex. Jan. 9,

2012).

         Substantially similar standards apply to Plaintiffs’ other Lanham Act claims and Texas

common-law claims. For instance, to prevail on a trademark infringement claim, the plaintiff must

show “(1) that the mark or trade dress, as the case may be, qualifies for protection and (2) that

[defendant's] use of the mark or trade dress creates a likelihood of confusion in the minds of

potential consumers.” Pebble Beach Co. v Tour 18 Ltd., 155 F.3d 526, 536 (5th Cir. 1998). To be

a valid trademark that can be federally registered, “a mark must be capable of distinguishing the

applicant's goods from those of others,” or be “distinctive.” Test Masters Educ. Servs., Inc. v.

Singh, 428 F.3d 559 (5th Cir. 2000) (abrogated on other grounds by TrafFix Devices, Inc v

Marketing Displays, Inc., 532 U.S. 23 (2001)). A registered trademark “shall be prima facie

evidence of the validity” of the registered owner's exclusive right to use the mark in commerce. 17




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U.S.C. § 1115. However, in a Lanham Act action, injunctive relief is proper merely by a showing

a likelihood of confusion or deception. See Ramada Franchise Sys., Inc. v Jacobcart, Inc., 2001

WL 540213, at 3 (N.D. Tex. May 17, 2001) (“In a trademark infringement case, ‘a substantial

likelihood of confusion constitutes irreparable injury.’” (quoting KFC Corp. v Goldey, 714 F.

Supp. 264, 267 (W.D. Ky. 1989))); see also Joy Mfg. Co. v. CGM Valve & Gauge Co., 730 F.Supp.

1387, 1394 (S.D. Tex. 1989) (“When a likelihood of confusion exists, the plaintiff’s lack of control

over the quality of the defendant’s goods constitutes immediate and irreparable harm, regardless

of the actual quality of the defendant's goods.”); Boston Professional Hockey Ass'n v. Dallas Cap

& Emblem Mfg., Inc., 510 F.2d 1004, 1013 (CA. Tex. 1975); Hot-Hed, Inc. v. Safehouse Habitats

(Scotland), Ltd., 333 S.W.3d 719, 730 (Tex. App. 2010) (“The elements in common-law trademark

infringement under Texas law are the same as those under federal law.”); Transparent Energy LLC

v. Premier Mktg. LLC, No. 3:19-cv-03022-L, 2020 U.S. Dist. LEXIS 145836, at *17-18 (N.D.

Tex. July 28, 2020) (“Federal unfair competition, false designation of origin, and false association

claims, as well as Texas common law trademark infringement claims, all have the same elements

as trademark infringement under the Lanham Act.”).

       As discussed below – particularly in light of PepsiCo’s slavish copying of the

ELECTROLIT trade dress – plaintiffs are likely to prevail on their trade dress and related claims.

               1.      The ELECTROLIT Trade Dress Qualifies for Protection.

       “‘Trade dress’ refers to the total image and overall appearance of a product and may include

features such as the size, shape, color, color combinations, textures, graphics, and even sales

techniques that characterize a particular product.” Pebble Beach Co. v. Tour 18 Ltd., 155 F.3d 526,

536 (5th Cir. 1998). When identifying trade dress, the focus is not on “isolated elements of the

dress, but on whether a combination of features creates a distinctive visual impression, identifying

the source of the product.” Sunbeam Prods., Inc. v. West Bend Co., 123 F.3d 246, 251 n.3 (5th Cir.


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1996). Trade dress is protectable if it is either inherently distinctive or has acquired secondary

meaning, and is not functional. See Dallas Cowboys Football Club, Ltd. v. America’s Team Props.,

Inc., 616 F.Supp. 2d 622, 634 (N.D. Tex. 2009).

       Trade dress is distinctive, and protectible, when it is “capable of identifying a particular

source of the product.” Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 771 (1992).

Distinctiveness is determined by considering the “total impression” made by the trade dress, rather

than its individual elements. Urgent Gear Inc. v. Savoia, 2001 U.S. Dist. LEXIS 20459, at *7-8

(N.D. Tex. Dec. 10, 2001) (quoting Paddington Corp. v. Attiki Imps. & Distribs., 996 F.2d 577,

584 (2d Cir. 1993)); see also Lady Primrose’s, Inc. v. After Hours Bath Prods., 2000 U.S. App.

LEXIS 40947, at *5-6 (5th Cir. Mar. 6, 2000) (unpublished). “The Supreme Court and the Fifth

Circuit have recognized that product packaging has a tendency to be inherently distinctive.” Shell

Trademark Mgmt. B.V. v. Warren Unilube, Inc., 765 F. Supp. 2d 884, 897 (S.D. Tex. 2011) (citing

Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 212 (2000) and Chevron Chemical Co.

v. Voluntary Purchasing Groups, Inc., 659 F.2d 695, 702-03 (5th Cir. 1981) (“[T]he possible

varieties of advertising display and packaging are virtually endless . . .”)).

       Courts routinely hold that product packaging, as opposed to product design, are inherently

distinctive without the need to show that the trade dress has acquired secondary meaning for

protection. See Wal-Mart Stores, Inc., 529 U.S. at 214-15. Bottle and container designs are

routinely protected as trade dress. See , e.g., Sicilia Di R. Biebow & Co. v. Cox, 732 F.2d 417 (5th

Cir. 1984) (citrus juice bottles); Carillon Importers Ltd. v. Frank Pesce Group, Inc., 913 F.Supp.

1559 (S.D. Fla. 1996 (vodka bottles); Coca-Cola Co. v. Alma-Leo U.S.A., Inc., 719 F.Supp. 725,

728 (N.D. Ill. 1989) (“Put succinctly, Coca-Cola’s bottle represents the archetypical distinctive




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mark.”). Here, Plaintiffs are alleging infringement of their trade dress in their ELECTROLIT

products bottle and packaging which, as in the preceding cases, are inherently distinctive.

       As discussed above, the ELECTROLIT trade dress is distinctive because its packaging

creates a unique, distinctive commercial impression. In measuring the inherent distinctiveness of

packaging trade dress, this Circuit has applied the test from trademark cases, holding that

suggestive, arbitrary, or fanciful trade dresses are inherently distinctive. See Chevron Chem. Co.,

659 F.2d at 702 (“If the features of the trade dress sought to be protected are arbitrary and serve

no function either to describe the product or assist in its effective packaging,” then it is inherently

distinctive.). In applying these categories to trade dress, this Circuit applies the Seabrook test,

namely: (1) is the design or shape common or basic, (2) is the design unique or unusual in a

particular field, (3) is it a mere refinement of a commonly-adopted and well-known form of

ornamentation for a particular class of goods that consumers view as mere dress or ornamentation,

and (4) is it capable of creating a commercial impression distinct from the accompanying words.

See Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d at 225, 232 (5th Cir. 2010) (citing

Seabrook Foods, Inc. v. Bar-Well Foods, Ltc., 568 F.2d 1342, 1344 (C.C.P.A. 1977)).

       The ELECTROLIT trade dress qualifies as inherently distinctive under the Seabrook test.

The ELECTROLIT trade dress is, when properly viewed as a whole, unique and unusual for

electrolyte beverage products. When Pisa launched the ELECTROLIT product using the

ELECTROLIT trade dress, its competitors were using and had been using containers of vastly

different appearances. The ELECTROLIT trade dress, a combination of features, stood out among

the various electrolyte beverage products. Because the ELECTROLIT trade dress was (and

remains) distinctive, it was not a simple refinement of any existing design for electrolyte beverage




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containers. The combination of features, both form and color, of the ELECTROLIT trade dress are

arbitrary as applied to the product.

       Moreover, even if the ELECTROLIT trade dress were not inherently distinctive (which it

is), it would still be a strong mark because it has acquired secondary meaning based on the

marketing and advertising Pisa and CAB have invested in the brand. For instance, Pisa and CAB’s

investment in the ELECTROLIT brand, and the public’s appreciation for and recognition of the

ELECTROLIT trade dress, has only increased since its initial launch in the U.S. market 7 years

ago. For example, in 2015, CAB invested approximately $1 million in advertising and marketing

the ELECTROLIT brand and product; by comparison, in 2020, CAB invested more than $19.5

million in advertising and marketing the ELECTROLIT brand and product, and has heightened

the profile of the brand through savvy placement on social media, resulting in over 2.2 billion

advertisement impressions (with a 70% reach in thirteen markets) and over 4.5 million social

media engagements. Ochoa Decl. ¶ 8. Thanks to these efforts, sales of ELECTROLIT in the U.S.

market have doubled every year since the brand was launched in 2014. Ochoa Decl. ¶ 8.

       The combination of all of the elements of the ELECTROLIT package, and the unique ways

in which these elements are presented, creates a unique, distinctive commercial impression.

Moreover, a review of the diverse range of distinctive trade dress used by other competing products

in the market demonstrates that there is nothing functional or customary about ELECTROLIT’s

unique look. See Academy Ltd. v. CWGS Grp., LLC, 2019 U.S. Dist. LEXIS 189507, at *8 (S.D.

Tex. Oct. 31, 2019) (finding defendant’s “years-long use of a different, non-infringing color

scheme and trade dress” was convincing evidence the trade dress was non-functional and

protectable).

                2.    There Is a Likelihood of Confusion Between ELECTROLIT and
                Gatorlyte Products.



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       Likelihood of confusion is assessed in this Circuit according to the “digits of confusion”

test, which includes an analysis of eight factors. See, e.g., Xtreme Lashes, LLC v. Xtended Beauty,

Inc., 576 F.3d 221, 226-27 (5th Cir. 2009).1 In applying these factors, it is the overall impression,

not a comparison of individual features of the trade dress, that is relevant to the comparison. Dallas

Cowboys Football Club, Ltd., 616 F. Supp. 2d at 638.

       Here, straightforward application of the “digits of confusion” factors demonstrates that

confusion is inevitable:

                       i. Factor 1 – The Type of Trade Dress

       The first factor weighs in favor of finding likelihood of confusion because the

ELECTROLIT trade dress is strong and distinctive, as discussed supra Section III.A.1.

                       ii. Factor 2 – Trade Dress Similarity

       The second factor also weighs in favor of finding likelihood of confusion because the

Gatorylte packaging is very similar to the ELECTROLIT trade dress. A simple comparison of the

trade dress of ELECTROLIT and the Gatorlyte packaging demonstrates that they give the same

overall visual impression. Ochoa Decl. ¶¶ 18-21. “The relevant inquiry is whether, under the

circumstances of the use, the marks are sufficiently similar that prospective purchasers are likely

to believe that the two users are somehow associated.” Dallas Cowboys Football Club, 616 F.

Supp. 2d at 638 (internal citation and quotations omitted). It is the overall impression, not a

comparison of individual features of the trade dress, that is relevant to the comparison. Id.

       The similarities between the respective trade dress for the two products include, at least:

(i) a virtually identical square-shaped bottle with two grooves circumscribing the bottle at upper



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  The “digits of confusion” test applies to both trademark and trade dress infringement alike. See,
e.g., Shell Trademark Mgmt. B.V., 765 F. Supp. 2d at 896 (applying the “digits of confusion”
factors from Xtreme Lashes in the context of trade dress infringement).


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and lower portions thereof and a gentle taper near the lower groove to a sharper radius at the bottom

of the bottle; (ii) the same diagonal lower left to upper right white banner label; (iii) a circular

insignia; (iv) solid background subtitles (with similar “hydration” wording); (v) identical scale,

placement and overlay of the product name; and (vi) similar placement and qualities of the graphic

element. Ochoa Decl. ¶ 20. Further, as discussed supra Section II., Gatorlyte’s advertising

language is similar to the advertising language for ELECTROLIT products, and PepsiCo changed

the name of its product from plural Gatorlytes to singular Gatorlyte, to increase its similarity to

the name ELECTROLIT. Any superficial differences in the details of the products’ trade dress

are immaterial in the face of these overwhelming similarities. Dallas Cowboys Football Club, 616

F. Supp. 2d at 638-39 (“exact similarity is not required”).

       Significantly, the mere fact that the Gatorlyte and ELECTROLIT products bear labels with

their names does not change the overall similarity of the Gatorlyte packaging to the ELECTROLIT

trade dress. See Sunbeam Products, Inc. v. West Bend Company, 123 F.3d 246, 259 (5th Cir. 1997)

(“[W]e have also observed that the mere labeling of a product will not automatically alleviate

likelihood of confusion.”). This is particularly important when, as will be discussed below, a

significant portion of the relevant consumers may not speak English as a first language.

Accordingly, this factor also favors a finding of likelihood of confusion.

               iii. Factor 3 – Product Similarity

       The third factor further weighs in favor of finding likelihood of confusion because

Gatorlyte is a comparable product to ELECTROLIT. Indeed, based on PepsiCo’s advertising, it

appears that PepsiCo slavishly copied the ELECTROLIT product formulation and flavors when

designing Gatorlyte. Like ELECTROLIT, Gatorlyte is a colored, electrolyte-enhanced beverage,

which is being offered in a line-up of colors (pink, orange, and white) that correspond exactly to

top-selling varieties of ELECTROLIT. Plaintiffs also expect the evidence to show that Gatorlyte


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uses many of the same ingredients as ELECTROLIT, including a near-identical electrolyte

combination. The fact that the product itself is a knock-off further heightens the likelihood that

consumers will be confused by the trade dress. See Dallas Cowboys Football Club, 616 F. Supp.

2d at 638 (quoting Elvis Presley Enters. v. Capece, 141 F.3d 188, 202 (5th Cir. 1998)) (noting that

exact similarity is not required, though greater similarity results in greater likelihood of confusion).

                iv. Factors 4 and 5 – Outlet and Purchaser Identity and Advertising
                Media Identity

        The fourth and fifth factors both weigh in favor of finding likelihood of confusion because

ELECTROLIT and Gatorlyte are situated identically in the market, with both products sharing the

same outlet, purchaser, and advertising media identity. Ochoa Decl. ¶ 33. ELECTROLIT and

Gatorlyte are identical products that are competing in the identical market. Both are in the category

of sports beverages, specifically rehydration beverages. Both products are available for sale in

many of the same supermarkets, convenience stores, club stores and health clubs that currently

carry ELECTROLIT, all frequented by the same targeted consumers. Further, ELECTROLIT’s

and Gatorlyte’s advertising campaigns are directed to the same group of consumers, and the print

media uses similar phrasing, as explained supra Section II.

        In fact, Plaintiffs have already received reports that PepsiCo’s agents in the field are

suggesting that Gatorlyte be placed on the shelf next to or instead of ELECTROLIT, thus

intentionally using the goodwill built by Plaintiffs to confuse consumers into purchasing Gatorlyte.

Ochoa Decl. ¶¶ 34-37. The fact that ELECTROLIT and Gatorlyte products will be mixed up

together on the same shelves, in the same coolers, and in the same displays significantly heightens

the likelihood that consumers will be confused. Id.; see also Ochoa Decl. ¶¶ 39-40. Thus,

ELECTROLIT and Gatorlyte have the same advertising media, outlet, and purchaser identities.

                v. Factor 6 – Defendant’s Intent



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       The sixth factor weighs in favor of finding likelihood of confusion because the Gatorylte

packaging was developed in bad faith, with the intent to copy the ELECTROLIT trade dress.

“When a ‘mark [is] adopted with the intent of deriving benefit from the reputation of [the mark

holder] that fact alone may be sufficient to justify the inference that there is confusing similarity.’”

Bd. of Supervisors for La. State Univ. Agric. & Mech. College v. Smack Apparel Co., 550 F.3d

465, 482 (5th Cir. 2008). In some situations, bad faith intent (i.e. that the defendant intended to

cause public confusion) may be inferred on the basis of “the defendant’s use of the mark with

‘knowledge’ of the senior user’s mark.” Streamline Prod. Sys. v. Streamline Mfg., 851 F.3d 440,

455-56 (5th Cir. 2017); see Am. Rice, Inc. v. Ark. Rice Growers Coop. Ass’n, 532 F. Supp. 1376,

1387 (S.D. Tex. 1982), aff’d by 701 F.2d 408 (5th Cir. 1983). Here, PepsiCo’s bad faith intent is

clear: rather than using its well-known Gatorade bottle and label design, - used on virtually all

other Gatorade products including its Gatorlytes product – it chose to overtly copy

ELECTROLIT’s trade dress. Ochoa Decl. ¶ 22.

       First, the Gatorlyte packaging is so strikingly similar to the ELECTROLIT trade dress (and

so strikingly different from ELECTROLIT’s other competitors) that the choice of trade dress

cannot possibly have been a coincidence. See, e.g., Urgent Gear Inc. v. Savoia, 2001 U.S. Dist.

LEXIS 20459, at *13-14 (N.D. Tex. Dec. 10, 2001) (finding that the “striking similarity of the

products,” combined with defendant’s prior knowledge of the trade dress, “is sufficient to persuade

the court of defendants’ intent to copy . . .”); Lady Primrose’s, Inc., 2000 U.S. App. LEXIS 40947,

at *14 (5th Cir. Mar. 6, 2000) (unpublished) (finding the defendant’s “product is so strikingly

similar to their counterpart in the [plaintiff’s] line that we can only infer an intent to copy.”). As

the junior market entrant, PepsiCo had an affirmative duty to avoid adopting packaging

confusingly similar to the ELECTROLIT trade dress. See Blue Bell Creameries, L.P. v. Denali




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Co., LLC, 2008 U.S. Dist. LEXIS 58083, at *12 (S.D. Tex. July 31, 2008) (discussing the

importance of taking reasonable steps to minimize the risk of confusion); see also Century 21 Real

Estate Corp. v. Sandlin, 846 F.2d 1175, 1182 (9th Cir. 1987) (confirming it is the junior entrant’s

obligation to choose a packaging design that is sufficiently different to avoid confusion with and

dilution of the distinctive ELECTROLIT trade dress). But rather than take reasonable steps to

minimize the risk of confusion, PepsiCo has gone out of its way to sow confusion among

consumers—it has demanded, upon information and belief, that retailers place the Gatorlyte

packaging next to the ELECTROLIT products, or replace them on the shelves entirely. Ochoa

Decl. ¶¶ 29-30. PepsiCo’s decision to make the Gatorlyte packaging incredibly similar to the

ELECTROLIT trade dress, along with strong-arming retailers to market Gatorlyte next to or as a

replacement for ELECTROLIT, suggests a deliberate attempt to cause, and take advantage of,

consumer confusion. Ochoa Decl. ¶¶ 41-42.

       Second, there is no question of prior knowledge: PepsiCo intends to launch their copy-cat

product mere months after enlisting lawyers to bully Pisa and CAB into changing certain language

on the ELECTROLIT packaging. Ochoa Decl. ¶¶ 25-28. It is now clear that not only was PepsiCo

familiar with the ELECTROLIT product and its trade dress, but they coveted it.

       Third, the design of PepsiCo’s prior nutrient-enhanced water products demonstrates that

they know how to create distinctive, non-infringing packaging when they choose to do so. Neither

PepsiCo’s first (since failed) entry in the electrolyte beverage category, Gatorlytes powder, nor its

current, highly successful Gatorade electrolyte-containing beverage, featured this square bottle

shape, white horizontal banner, circular insignia, or solid background subtitles. Ochoa Decl. ¶ 24.

Moreover, the Gatorade brand, under which Gatorylte is now being launched, has for years had a

distinctive, unique look distinguished by highly prominent use of Gatorade’s G lightning bolt logo




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in the center of a circular-shaped bottle. Ochoa Decl. ¶ 25. PepsiCo’s abandonment of these

primary brand-identifying elements in its design for Gatorlyte demonstrates Pepsico’s intent to

associate Gatorylte with the ELECTROLIT brand rather than their own well-known Gatorade

brand. Ochoa Decl. ¶ 25.

                        vi. Factor 7 – Actual Confusion

        The seventh factor likewise weighs in favor of finding likelihood of confusion. The Fifth

Circuit has “set a low bar for this showing [of actual confusion], stating that a plaintiff need provide

‘very little proof of actual confusion . . . to prove likelihood of confusion.’” Streamline Prod. Sys.,

851 F.3d at 457 (quoting Xtreme Lashes, 576 F.3d at 229). “A plaintiff may show actual confusion

using anecdotal instances of consumer confusion, systematic consumer surveys, or both.” Id. This

Circuit has made clear that, “[e]ven if the anecdotes are minor and isolated, ‘courts may not ignore

competent evidence of actual confusion.’” Id. (quoting Xtreme Lashes, 576 F.3d at 230).

        While waiting for evidence of widespread actual confusion in the marketplace would result

in precisely the type of irreparable harm that entry of a TRO is meant to avoid, the similarity of

the trade dress and PepsiCo’s own insistence that retailers place its Gatorlyte product intermixed

with ELECTROLIT will cause actual confusion upon product launch. Moreover, Plaintiffs are

working with an expert to design and conduct a pilot consumer survey, the results of which

Plaintiffs expert to show that an appreciable percentage of relevant consumers are likely to confuse

ELECTROLIT with Gatorlyte based on similarities between the products’ trade dress. Thomas

McCarthy, McCarthy on Trademarks and Unfair Competition § 23:12, at 23-70 (4th ed. 2001)

(noting that courts do not require evidence of actual confusion because they recognize that such

evidence is “very difficult, and often impossible to obtain”) (citing cases).

        Even if the pilot survey does not show confusion, the anecdotal evidence of actual

confusion that will occur upon product launch still warrant entry of a TRO. That is because a


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survey is, at best, a proxy for what is occurring in the marketplace, but the very nature of surveying

consumers’ beliefs causes them to be more careful, and pay more attention, than they otherwise

would when shopping, especially for an impulse item. McCarthy § 32:178, at 32296 (4th ed. 2001)

(noting that even the most well constructed survey is inherently artificial and therefore an

“imperfect mirror of actual customer behavior under real life conditions”). Nonetheless, Plaintiffs

expert that their survey will confirm that confusion is likely, which will provide further support

for the finding that an appreciable number of relevant consumers will confuse ELECTROLIT and

Gatorlyte because of the similarities between the trade dress.

                       vii. Factor 8 – Care Exercised by Potential Purchasers

       Finally, the last factor weighs in favor of finding likelihood of confusion because

purchasers of single-serving electrolyte beverages are not highly trained or likely to exercise

particular care. Similar low-priced products have been found likely to be subject to confusion by

customers, who generally do not take the same degree of care as they might when purchasing more

expensive items. See Bd. of Supervisors for La. State Univ., 550 F.3d at 483. Here, because neither

product is expensive – both generally cost less than a few dollars per bottle – consumers are less

likely to exhibit great care in making their selection. Moreover, the purchase of a single-serving

beverage is often made on impulse by consumers while they are in a store, heightening the

likelihood that consumers will not exercise care and will mistakenly buy the wrong product. See

id. at 483 (describing t-shirts, a similarly inexpensive retail product, as “impulse” buys). Indeed,

Pisa and CAB expect to hear reports that this is exactly what is happening in the field: hurried

consumers might grab Gatorylte off store shelves when what they mean to buy is ELECTROLIT.

Ochoa Decl. ¶¶ 31-32, 38.

       Moreover, PepsiCo explicitly intends to market its Gatorlyte product to the “Hispanic”

market. District courts have found that different aspects of a product’s trade dress take on increased


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or decreased importance due to language barriers in that portion of the targeted consumer

base. See, e.g., Levi Strauss & Bo. v. Blue Bell, Inc., 1978 U.S. Dist. LEXIS 16577 (N.D. Cal. July

14, 1978) (noting that at least some Spanish-speaking customers relied on the TAB to identify the

product, and that the competitor could not avoid infringement by putting their own trademarked

word on the TAB); Philip Morris, Inc. v. MidWest Tobacco, Inc., 1988 U.S. Dist. LEXIS 16787,

at *20-22 (E.D. Va. Nov. 4, 1988) (finding trade dress infringement in light of the confusion of

non-English speakers in foreign countries, even where the language on the infringing product,

“MIDWEST,” was likely distinguishable from “MARLBORO” to English-speakers). A

forthcoming survey will likely show that is exactly what would happen here. As many of

ELECTROLIT’s customers do not speak English as a first language, the wording on the product

may have decreased significance whereas the graphic and 3D design elements may take on more

significance.

                                               ****

       Overall, Plaintiffs’ claims are not merely likely, but virtually certain, to succeed.

       B.       Plaintiffs Have a Strong Likelihood of Success on Their Dilution Claims

       To succeed on their Lanham Act and state law dilution claims, Plaintiffs need only show

that: “(1) the plaintiff owns a famous and distinctive mark; (2) the defendant uses the mark in a

manner that dilutes it; (3) there is association between the marks due to similarity; and (4) the

association is likely to impair the distinctiveness of the mark or harm the reputation of the

plaintiff's mark. Transparent Energy, 2020 U.S. Dist. LEXIS 145836, at *23-24; see also 15

U.S.C. § 1125(c); Tex. Bus. & Com. Code § 16.103. When analyzing whether a trademark is

“famous,” a court may consider many factors, including:

       (1) [T]he duration, extent, and geographic reach of the advertisement and publicity
       of the mark in this state, regardless of whether the mark is advertised or publicized
       by the owner or a third party; (2) the amount, volume, and geographic extent of


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       sales of goods or services offered under the mark in this state; (3) the extent of
       actual recognition of the mark in this state; and (4) whether the mark is registered
       in this state or in the United States Patent and Trademark Office.

See Mott's LLP v. Comercializadora Eloro, S.A., 2020 U.S. Dist. LEXIS 249592, at *11-12 (W.D.

Tex. Dec. 14, 2020); see also 15 U.S.C. § 1125(c)(2)(A). Unlike as in a trade dress or trademark

infringement claim, there is no need to show consumer confusion to prevail on a dilution claim.2

See id.at *15, n.4. Moreover, under state law, there is no need to show actual dilution, as is required

under the Federal Trademark Dilution Act, 15 U.S.C. § 1125(c).

       Thus, on the same facts establishing its overwhelming likelihood of success on its

trademark infringement, trade dress infringement, and false designation of origin claims as

explained extensively above, Plaintiffs can establish their likelihood of success on their dilution

claims.3

       C.     Plaintiffs Are Suffering Irreparable Harm as a Result of the PepsiCo’s
       Activities

       Courts in this Circuit have stated that establishing a high probability of confusion as to

source or sponsorship almost inevitably establishes irreparable harm to a trademark owner, and, in

a Lanham Act action, injunctive relief is proper merely by a showing a likelihood of confusion or

deception. See Ramada Franchise Sys., Inc. v Jacobcart, Inc., 2001 WL 540213, at 3 (N.D. Tex.

May 17, 2001) (“In a trademark infringement case, ‘a substantial likelihood of confusion

constitutes irreparable injury.’” (quoting KFC Corp. v Goldey, 714 F. Supp. 264, 267 (W.D. Ky.

1989)); see also Joy Mfg. Co. v. CGM Valve & Gauge Co., 730 F.Supp. 1387, 1394 (S.D. Tex.


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  Thus, even if PepsiCo seeks an opportunity to dispute the evidence of confusion that Plaintiffs
have proffered, the Court need not hear or resolve such disputes in order to grant a provisional
remedy based on a dilution claim.
3
  Plaintiffs are also likely to succeed on the merits of their unfair competition, unjust enrichment,
tortious interference, and antitrust claim, but bring this application for a TRO and preliminary
injunction based on the claims arising from PepsiCo’s most egregious wrongful conduct: the
obvious copying of the unique and distinctive ELECTROLIT trade dress.


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1989) (“When a likelihood of confusion exists, the plaintiff’s lack of control over the quality of

the defendant’s goods constitutes immediate and irreparable harm, regardless of the actual quality

of the defendant's goods.”); Boston Professional Hockey Ass'n v. Dallas Cap & Emblem Mfg., Inc.,

510 F.2d 1004, 1013 (CA. Tex. 1975); see also Omega Importing Corp. v Petri-Kline Camera Co.,

451 F.2d 1190, 1195 (2d Cir. 1971); Home Box Office, Inc. v Showtime/Movie Channel, Inc., 832

F.2d 1311 (2d Cir. 1987) (a showing of likelihood of confusion as to source or sponsorship

establishes the risk of irreparable harm as well as the requisite likelihood of success on the merits).

       As set forth above, Plaintiffs have also demonstrated, apart from the rightfully applicable

presumption of irreparable harm, that actual irreparable harm is taking place and will continue to

take place without the Court’s swift intervention. If Plaintiffs not obtain a TRO before PepsiCo is

able to seize shelf space leading into the critical summer months, Plaintiffs will suffer irreparable

harm. Ochoa Decl. ¶ 43. Most obviously, Plaintiffs will lose marketshare, as customers are

confused into buying Gatorlyte when they mean to buy ELECTROLIT. Ochoa Decl. ¶ 44. Further,

Plaintiffs have spent considerable time and expense in gaining the loyalty of retailers and shelf

space for its product. Ochoa Decl. ¶ 45. If PepsiCo succeeds in gaining that shelf space by virtue

of their confusingly similar packaging, Plaintiffs may never be able to regain that shelf space, even

if this Court later enjoins the Gatorlyte trade dress at a preliminary injunction hearing and/or a trial

on the merits. Id.

       If Plaintiffs are unable to obtain a TRO in the immediate future, PepsiCo – using PepsiCo’s

prodigious marketing strength and nationwide distribution network – will be able to flood the

market and capture shelf space for the critical summer selling season. Ochoa Decl. ¶¶ 46-47. The

good will Plaintiffs have spent the past seven years carefully cultivating for the ELECTROLIT

brand could be eviscerated by the end of the summer. Id.




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        D.      The Balance of the Equities Is in Plaintiffs’ Favor.

        Equitable factors also strongly support the Court issuing injunctive relief in this case. If no

injunction is issued, Plaintiffs will suffer significant, irreparable hardship. The tens of millions of

dollars that Plaintiffs already have invested in ELECTROLIT marketing will be cannibalized, the

good will Plaintiffs have created in the brand will be eroded, and Plaintiffs’ ability to use its trade

dress and trademarks effectively to will be destroyed if PepsiCo is able to flood those markets with

their knock-off product. No later action by this Court could retrieve consumers’ good will towards

the ELECTROLIT brand, once it has been lost. Ochoa Decl. ¶ 47.

        By contrast, PepsiCo does not stand to lose nearly as much if the TRO is issued. Gatorlyte

is a relatively minor product for PepsiCo in the context of PepsiCo’s food and beverage empire,

including its mammoth Pepsi, Diet Pepsi, Mountain Dew, Gatorade, Tropicana, Lipton and ready-

to-drink Starbucks brands. Moreover, PepsiCo still could sell their product, so long as it was

relabeled in nonconfusing trade dress and noninfringing trademarks. Although there might be some

disruption is those sales if PepsiCo is required to re-label, such disruption will likely be very minor.

See also Lakedreams v. Taylor, 932 F.2d 1103, 1110 n.12 (5th Cir. 1991) (noting First Circuit's

view that where only hardship defendant will suffer is lost profits from activity shown likely to be

infringing, such argument in defense “merits little equitable consideration”) (quoting Concrete

Machinery Co. v. Classic Lawn Ornaments, Inc., 843 F.2d 600, 612 (1st Cir. 1988)).

        In any event, PepsiCo knew of Plaintiffs’ prior rights in the ELECTROLIT trade dress –

which PepsiCo slavishly copied when designing their Gatorlyte trade dress – and accepted the risk

that their product could be found infringing, and enjoined, through litigation. See Petro Franchise

Sys., LLC v. All Am. Props., Inc., 607 F. Supp. 2d 781, 797 (W.D. Tex. 2009) (holding that any

harm to the defendant was outweighed, especially considering that it was “at least partially self-

inflicted.”).


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        E.      Injunctive Relief Is in the Public Interest.

        Finally, Plaintiffs’ requested relief is in the public interest because “the public has an

interest in preventing confusion about the origin of the products that it buys.” Lakedreams, 932

F.2d at 1110. The Lanham Act exists “to protect the ability of consumers to distinguish among

competing producers.” Park `N Fly, Inc. v. Dollar Park and Fly, Inc., 469 U.S. 189, 198 (1985).

“The public interest is always served by requiring compliance with Congressional statutes such as

the Lanham Act and by enjoining the use of infringing marks.” Quantum Fitness Corp., 83 F.

Supp. 2d 83 F. Supp. 2d 810, 832 (S.D. Tex. 1999) (citations omitted).

        Injunctive relief against PepsiCo would promote the public interest by eliminating the risk

of consumer confusion and stemming the flow of unlawful and unauthorized products. Moreover,

issuing an injunction would protect Plaintiffs’ trademark rights. This relief is consistent with the

purpose of the Lanham Act to prevent “the deceptive and misleading use of marks in such

commerce … to protect persons engaged in such commerce against unfair competition; to prevent

fraud and deception in such commerce by the use of reproductions, copies, counterfeits, or

colorable imitations of registered marks.” Am. Rice, Inc. v. Ark. Rice Growers Coop. Ass'n, 532 F.

Supp. 1376, 1389 (S.D. Tex. 1982) (quoting 15 U.S.C. § 1127). Public policy favors brand owners

being able to protect the money, time, and other investments they have made in their trademarks,

and associated brands and reputations.

IV.     CONCLUSION

        For the reasons set forth above, this Court should grant Plaintiffs’ request for an Order to

Show Cause for Preliminary Injunction and Temporary Restraining Order in its entirety and issue

an order for execution as soon as practically possible, and all other and further relief that this Court

deems just and proper.




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Dated: February 18, 2021              Respectfully submitted,

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